Case 1:05-Cr-00394-RBW Document 397 Filed 12/05/17 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA §
v. § No. 05-CR-00394 RBW

LEWIS LIBBY, §

Defendant. §

)

 

I. LEWIS L]BBY’S RESP()NSE TO COURT’S ORDER

Mr. Libby’s counsel has received via ECF the Court’s Order of December 4, 2017, denying
without prejudice a “Motion for Return of Property Under Rule 4lG.” To correct the record, Mr. Libby
never filed such a motion, and does not know who did so. The address reflected in the motion filed April
23, 2010, is unknown to Mr. Libby.

Respectfully submitted,

m~<r~

William H. Jeffress, J`F.' V V
D.C. Bar No. 041152

BAKER BOTTS, LLP

1299 Pennsylvania Ave., NW
Washington, DC 20004

(202) 639-7751
Willi_:mi.iei`t"ress_rjg`)bnl<r:rhulls.com

Attorneyfor Defendant

Active 36696453.1

